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                    EXHIBIT A
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231        Hargrove, Toni v. Johnson & Johnson, et al.           CA - Superior Court - San Diego County        37-2017-41678-CU-PL-CTL

232       Harris, Preston v. Johnson & Johnson, et al.          CA - Superior Court - Los Angeles County              BC697943

233     Harrison, Katrina K v. Johnson & Johnson, et al.        CA - Superior Court - Los Angeles County              BC696316

234       Hastin, Y-Vonnie v. Johnson & Johnson, et al.          CA - Superior Court - Santa Clara County            18CV323996

235      Hatanaka, Sara K. v. Johnson & Johnson, et al.         CA - Superior Court - Los Angeles County              BC624643

236       Hauck, Dolores v. Johnson & Johnson, et al.            CA - Superior Court - Santa Clara County            18CV327347

237      Hauck, Dolores Y v. Johnson & Johnson, et al.           CA - Superior Court - Santa Clara County            18CV328941

238       Hauke, Barbara v. Johnson & Johnson, et al.            CA - Superior Court - Santa Clara County            18CV330935

239     Haworth, Melissa F v. Johnson & Johnson, et al.        CA - Superior Court - San Luis Obispo County           18CV0334

240       Hayos, Meridith v. Johnson & Johnson, et al.             CA - Superior Court - County of Marin             CV-1700387

241       Heard, Rose A. v. Johnson & Johnson, et al.            CA - Superior Court - Santa Clara County            17CV318652

242     Hedgecock, James v. Johnson & Johnson, et al.            CA - Superior Court - Santa Clara County            18CV334054

243     Hedrick, Kimberly J v. Johnson & Johnson, et al.           CA - Superior Court - Fresno County              18CECG01553

244      Hedrick, Ramona v. Johnson & Johnson, et al.            CA - Superior Court - Santa Clara County             18cv335039

245        Heffernan, Jill v. Johnson & Johnson, et al.          CA - Superior Court - Santa Clara County            18CV337164

246       Heinisch, Shirley v. Johnson & Johnson, et al.         CA - Superior Court - San Mateo County              18-CIV-4501

247     Hennessy, Julianne v. Johnson & Johnson, et al.          CA - Superior Court - Santa Clara County            18CV327543

248      Heyward, Kathryn v. Johnson & Johnson, et al.          CA - Superior Court - Los Angeles County              BC703846

249      Hibbard, Raymond v. Johnson & Johnson, et al.           CA - Superior Court - Santa Clara County            18CV323910

250     Hill-Escobedo, Nita v. Johnson & Johnson, et al.         CA - Superior Court - Santa Clara County            18CV333671

251         Hinson, Jan v. Johnson & Johnson, et al.             CA - Superior Court - Santa Cruz County              18CV00120

252       Hoang, Linh My v. Johnson & Johnson, et al.           CA - Superior Court - Los Angeles County              BC650367

253        Hollis, Linda J v. Johnson & Johnson, et al.          CA - Superior Court - Santa Clara County            18CV324329

254      Hollis, Vera, et al. v. Johnson & Johnson, et al.      CA - Superior Court - Los Angeles County              BC634856

255       Holmes, Audrey v. Johnson & Johnson, et al.             CA - Superior Court - Alameda County              HG-17-880973

256        Holt, Kathleen v. Johnson & Johnson, et al.           CA - Superior Court - Santa Clara County             18cv335356

257         Horn, Susan v. Johnson & Johnson, et al.            CA - Superior Court - Los Angeles County              BC685590

258    Hough, Mary Jo, et al. v. Johnson & Johnson, et al.     CA - Superior Court - San Bernardino County          CIVDS1812541

259       Houston, Jason v. Johnson & Johnson, et al.            CA - Superior Court - Santa Clara County            18CV325815

260      Howard, Lakishia v. Johnson & Johnson, et al.           CA - Superior Court - Santa Clara County            17CV318663

261       Howard, Steven v. Johnson & Johnson, et al.             CA - Superior Court - Alameda County              HG-17-880966

262       Hubler, Sandra v. Johnson & Johnson, et al.              CA - Superior Court - Fresno County              17CECG03715
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263        Huntley, Jana v. Johnson & Johnson, et al.                     CA - Superior Court - Los Angeles County                   BC722125

264       Husman, Heidi v. Johnson & Johnson, et al.                      CA - Superior Court - Santa Clara County                  17CV318667

265      Hutchings, Heidi v. Johnson & Johnson, et al.                       CA - Superior Court - Butte County                      17CV02548

266      Hutchinson, Sara v. Johnson & Johnson, et al.                    CA - Superior Court - Santa Clara County                  17CV308012

267       Hyvarinen, Anne v. Johnson & Johnson, et al.                    CA - Superior Court - Los Angeles County                   BC667084

268        Ingram, Vickie v. Johnson & Johnson, et al.                    CA - Superior Court - Santa Clara County                  18CV327583

269       Iturreria, Susan & Johnson & Johnson, et al.                    CA - Superior Court - Sacramento County                 34-2017-00221535

270   Jacobi, Stacey Kirkland v. Johnson & Johnson, et al.                CA - Superior Court - Santa Clara County                  18CV333802

271       Jacquez, Nancy v. Johnson & Johnson, et al.                     CA - Superior Court - Los Angeles County                   BC681550

272         Jaklin, Elia v. Johnson & Johnson, et al.                     CA - Superior Court - Santa Clara County                  17CV318648

273   Jeremiah-Taylor, Cyndie v. Johnson & Johnson, et al.                CA - Superior Court - Santa Clara County                  18cv335060

274   Jerricks, Deborah, et al. v. Johnson & Johnson, et al.              CA - Superior Court - Los Angeles County                   BC639513

275      Joffroy, Lisa, et al. v. Johnson & Johnson, et al.               CA - Superior Court - Los Angeles County                   BC637233

276       Johnson, Brian v. Johnson & Johnson, et al.                     CA - Superior Court - Santa Clara County                  18CV327297

277     Johnson, Candace v. Johnson & Johnson, et al.                     CA - Superior Court - Los Angeles County                   BC645974
         Johnson, Carolina v. Johnson & Johnson, et al.                   CA - Superior Court - Los Angeles County                   BC694135
278
279     Johnson, Constance v. Johnson & Johnson, et al.                  CA - Superior Court - Contra Costa County                   C17-02413

280       Johnson, Diane v. Johnson & Johnson, et al.              CA - Superior Court - City and County of San Francisco         CGC-17-557035

281         Jonas, Rosa v. Johnson & Johnson, et al.                    CA - Superior Court - San Bernardino County                CIVDS1721621

282       Jones, Jeanette v. Johnson & Johnson, et al.                    CA - Superior Court - Santa Clara County                  18CV323587

283       Jones, Kathryn v. Johnson & Johnson, et al.                     CA - Superior Court - Santa Clara County                  17CV318668

284   Jordan-Robinson, Laurie v. Johnson & Johnson, et al.                CA - Superior Court - Santa Clara County                  19CV342150

285       Joshi, Meghana v. Johnson & Johnson, et al.                       CA - Superior Court - Alameda County                    RG17-848451

286      Joukl, Judit, et al. v. Johnson & Johnson, et al.                CA - Superior Court - Santa Clara County                  17CV304902

287       Joyce, Kimberly v. Johnson & Johnson, et al.                    CA - Superior Court - Los Angeles County                 18STCV03884

288         Julian, John v. Johnson & Johnson, et al.                     CA - Superior Court - Santa Clara County                  18CV326451

289       Kanji, Khatun A. v. Johnson & Johnson, et al.                   CA - Superior Court - Los Angeles County                   BC671569

290    Kelly, Susan Lewotsky v. Johnson & Johnson, et al.                    CA - Superior Court - Fresno County                   16CECG03244

291        Kent, Monica v. Johnson & Johnson, et al.                      CA - Superior Court - Santa Clara County                  17CV318672
           Kerp, Thomas v. Johnson & Johnson, et al.                        CA - Superior Court - Orange County             30-2017-00953308-CU-PL-CXC
292
293         Keys, Debra v. Johnson & Johnson, et al.                         CA - Superior Court - Placer County                      T18-146

294       Keyston, Sarah v. Johnson & Johnson, et al.                      CA - Superior Court - San Mateo County                   18-CIV-1609

295       Khazzaka, Alice v. Johnson & Johnson, et al.                    CA - Superior Court - Santa Clara County                  17CV318673

296      Khorrami, Mahnaz v. Johnson & Johnson, et al.         CA - Superior Court - City and County of Riverside, Palm Springs     RIC1706664
             Kijak, Lisa v. Johnson & Johnson, et al.                       CA - Superior Court - Orange County             30-2018-00995844-CU-PL-CXC
297
298        Kinder, Jamie v. Johnson & Johnson, et al.                     CA - Superior Court - Santa Clara County                  18CV333617

299        King, Genalyn v. Johnson & Johnson, et al.                        CA - Superior Court - Butte County                      17CV03200

300         King, Rose v. Johnson & Johnson, et al.                       CA - Superior Court - Los Angeles County                   BC697721

301        Kleven, Jerry v. Johnson & Johnson, et al.                     CA - Superior Court - Santa Clara County                  18CV335685

302        Kluis, Amber v. Johnson & Johnson, et al.                         CA - Superior Court - Shasta County                     18-190900

303         Koontz, Ann v. Johnson & Johnson, et al.                    CA - Superior Court - San Bernardino County                CIVDS1724289

304      Krasow, Michael v. Johnson & Johnson, et al.                      CA - Superior Court - San Mateo County                   18-CIV-1067

305      Krestain, Lorraine v. Johnson & Johnson, et al.                  CA - Superior Court - Santa Clara County                  15-cv-289573
         Krueger, Jeanette v. Johnson & Johnson, et al.                     CA - Superior Court - Orange County             30-2017-00952464-CU-PL-CXC
306
        Kurian, Lissy Amma v. Johnson & Johnson, et al.                       CA - Superior Court - Kern County                    BCV-18-101543
307
308        Laird, Susan v. Johnson & Johnson, et al.                      CA - Superior Court - Los Angeles County                   BC695059

309      Lamaque, Shantal v. Johnson & Johnson, et al.                  CA - Superior Court - San Bernardino County                CIVDS1825399

310     Lara, Christine Ann v. Johnson & Johnson, et al.                  CA - Superior Court - Los Angeles County                   BC715169

311      Larmond, Valrose v. Johnson & Johnson, et al.                     CA - Superior Court - San Diego County            37-2017-40422-CU-PL-CTL

312       Lasley, Wayne v. Johnson & Johnson, et al.                      CA - Superior Court - Santa Clara County                  18CV332349

313       Lavender, Karen v. Johnson & Johnson, et al.                      CA - Superior Court - Sonoma County                     SCV-261471

314      Lawrence, Joyce v. Johnson & Johnson, et al.                     CA - Superior Court - Santa Clara County                  18CV324001
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315      Ledesma, Carmen v. Johnson & Johnson, et al.             CA - Superior Court - Los Angeles County              BC671565

316       Ledesma, Sonia v. Johnson & Johnson, et al.              CA - Superior Court - Santa Clara County            17CV321185

317      Lee, Annie Ruby S. v. Johnson & Johnson, et al.          CA - Superior Court - Los Angeles County              BC623923

318         Lee, Natalie v. Johnson & Johnson, et al.              CA - Superior Court - Stanislaus County             CV-18-000341

319         Lema, Tysha v. Johnson & Johnson, et al.               CA - Superior Court - Santa Clara County            18CV322737

320      Linares, Heriberto v. Johnson & Johnson, et al.           CA - Superior Court - Santa Clara County            17CV321196
           Lisle, Lorraine v. Johnson & Johnson, et al.              CA - Superior Court - Ventura County       56-2018-00513949-CU-PL-VTA
321
322        Littlefield, Lisa v. Johnson & Johnson, et al.          CA - Superior Court - Santa Clara County            17CV318674

323      Livingston, Kathryn v. Johnson & Johnson, et al.          CA - Superior Court - Santa Clara County            18CV332884

324   Lloyd, Charmaine, et al. v. Johnson & Johnson, et al.       CA - Superior Court - Los Angeles County              BC628228

325         Lofquist, Kelly v. Johnson & Johnson, et al.          CA - Superior Court - Los Angeles County              BC697959

326         Lopez, Hugo v. Johnson & Johnson, et al.               CA - Superior Court - Santa Clara County            18CV322211

327      Loschiavo, Dorothy v. Johnson & Johnson, et al.         CA - Superior Court - San Luis Obispo County            18cvp15

328           Love, Eric v. Johnson & Johnson, et al.                 CA - Superior Court - Napa County                17CV001192

329    Lowe, Theodore, et al. v. Johnson & Johnson, et al.         CA - Superior Court - Santa Clara County            16-cv-299025

330     Luecker, Laurie, et al. v. Johnson & Johnson, et al.       CA - Superior Court - Santa Clara County             16cv303435

331       Luna, Hermelinda v. Johnson & Johnson, et al.           CA - Superior Court - Los Angeles County              BC701412

332          Luther, Lisa v. Johnson & Johnson, et al.            CA - Superior Court - Los Angeles County              BC700403

333        Lynch, Ladonna v. Johnson & Johnson, et al.             CA - Superior Court - Santa Clara County            17CV318678

334       Madden, Kareen v. Johnson & Johnson, et al.              CA - Superior Court - San Diego County        37-2017-41757-CU-PL-CTL
           Mahoney, Judy v. Johnson & Johnson, et al.                CA - Superior Court - Orange County        30-2018-00988014-CU-MT-CXC
335
          Maitland, Eloise v. Johnson & Johnson, et al.              CA - Superior Court - Ventura County       56-2017-00503557-CU-PL-VTA
336
337       Malkiewicz, Gina v. Johnson & Johnson, et al.            CA - Superior Court - Santa Clara County            18CV331107

338        Mancino, Mary v. Johnson & Johnson, et al.              CA - Superior Court - San Diego County          2018-10026-CU-PL-NC

339         Marron, Maria v. Johnson & Johnson, et al.            CA - Superior Court - Los Angeles County              BC705965

340        Martel, Joseph v. Johnson & Johnson, et al.             CA - Superior Court - Sacramento County               T182069

341       Martin, Kathleen v. Johnson & Johnson, et al.            CA - Superior Court - Santa Clara County            18CV323966

342   Martinez, Katherine, et al. v. Johnson & Johnson, et al.    CA - Superior Court - Los Angeles County              BC649256

343         Massi, Anna v. Johnson & Johnson, et al.               CA - Superior Court - Santa Clara County            18CV330513

344        Mata, Carmen v. Johnson & Johnson, et al.                CA - Superior Court - Alameda County               RG18925277

345       Mauro, Deborah v. Johnson & Johnson, et al.             CA - Superior Court - Los Angeles County              BC682106

346     McCandless, Sandra v. Johnson & Johnson, et al.           CA - Superior Court - Los Angeles County              BC688562

347     McConner, Frances v. Johnson & Johnson, et al.             CA - Superior Court - Santa Clara County            18CV327339
         McDonald, Marilyn v. Johnson & Johnson, et al.             CA - Superior Court - Riverside County              RIC1809839

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349   McDonald, Marjorie Ruth v. Johnson & Johnson, et al.           CA - Superior Court - Shasta County                  190511

350   McKenzie, Jannes, et al. v. Johnson & Johnson, et al.        CA - Superior Court - Santa Clara County            17CV308034

351        McKenzie, Teri v. Johnson & Johnson, et al.               CA - Superior Court - Santa Barbara                17CV02472

352       McKiernan, Maria v. Johnson & Johnson, et al.            CA - Superior Court - Santa Clara County             18cv335037

353        McKinsey, Gary v. Johnson & Johnson, et al.               CA - Superior Court - Santa Barbara                17CV04382

354          McLean, Jill v. Johnson & Johnson, et al.            CA - Superior Court - Contra Costa County            MSC17-02144

355       McMath, Lynda M v. Johnson & Johnson, et al.               CA - Superior Court - Shasta County                  188579

356      McShane, Darlene v. Johnson & Johnson, et al.            CA - Superior Court - Los Angeles County              BC719091

357        Medrano, Dora v. Johnson & Johnson, et al.             CA - Superior Court - Los Angeles County              BC658888

358        Meier, Cynthia v. Johnson & Johnson, et al.             CA - Superior Court - Sacramento County           34-2017-00221571

359        Mejia, Cynthia v. Johnson & Johnson, et al.            CA - Superior Court - Los Angeles County              BC688033

360       Mercury, Michelle v. Johnson & Johnson, et al.           CA - Superior Court - Santa Clara County            17CV317372

361         Metz, Susan v. Johnson & Johnson, et al.              CA - Superior Court - Los Angeles County              BC689870

362       Mileham, Melody v. Johnson & Johnson, et al.              CA - Superior Court - Alameda County               RG18909946

363         Millan, Vivian v. Johnson & Johnson, et al.           CA - Superior Court - Los Angeles County             18STCV03492

364          Miller, Larry v. Johnson & Johnson, et al.            CA - Superior Court - Santa Clara County            18CV332341

365          Miller, Lisa v. Johnson & Johnson, et al.             CA - Superior Court - Santa Clara County            16-cv-299993
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367       Milliorn, Michele, et al. v. Johnson & Johnson, et al.       CA - Superior Court - Alameda County               16843729

368          Mitchell, Denise v. Johnson & Johnson, et al.           CA - Superior Court - Santa Clara County            17CV318638

369           Mitchell, Linda v. Johnson & Johnson, et al.           CA - Superior Court - Santa Clara County            17CV318679

370         Monguia, Enrique v. Johnson & Johnson, et al.            CA - Superior Court - Los Angeles County             BC720951

371           Montejo, Maria v. Johnson & Johnson, et al.            CA - Superior Court - Los Angeles County             BC694136

372        Montgomery, Lilly V v. Johnson & Johnson, et al.          CA - Superior Court - Santa Clara County            18CV327340

373         Montosa, Richard v. Johnson & Johnson, et al.            CA - Superior Court - Los Angeles County             BC703746

374           Monzon, Maria v. Johnson & Johnson, et al.             CA - Superior Court - Santa Clara County            17CV318680

375           Moore, Louise v. Johnson & Johnson, et al.             CA - Superior Court - Santa Clara County            17CV318684

376           Moore, Peter v. Johnson & Johnson, et al.              CA - Superior Court - Los Angeles County             BC698820

377          Morales, Maomi v. Johnson & Johnson, et al.             CA - Superior Court - Santa Clara County            17CV318688

378          Moranda, Earl L v. Johnson & Johnson, et al.            CA - Superior Court - Santa Clara County            17CV321199

379           Morgan, Larry v. Johnson & Johnson, et al.             CA - Superior Court - Santa Clara County            18CV330990

380          Morris, Frances v. Johnson & Johnson, et al.             CA - Superior Court - Riverside County             RIC1800043

381      Motley, La'Sarah-Evette v. Johnson & Johnson, et al.        CA - Superior Court - Santa Clara County            18CV332552

382           Mount, Colette v. Johnson & Johnson, et al.            CA - Superior Court - Santa Clara County            17CV318737

383          Munford, Ingram v. Johnson & Johnson, et al.            CA - Superior Court - Santa Clara County            18CV328695

384         Murillo, Rebecca v. Johnson & Johnson, et al.             CA - Superior Court - San Diego County       37-2018-38085-CU-PL-CTL

385       Musgrave, Edward M v. Johnson & Johnson, et al.            CA - Superior Court - Santa Clara County            18CV321873

386       Myers, Candace, et al. v. Johnson & Johnson, et al.        CA - Superior Court - Los Angeles County             BC632333

387           Myers, Sylvia v. Johnson & Johnson, et al.             CA - Superior Court - Santa Clara County            17CV321201

388           Nattress, Inge v. Johnson & Johnson, et al.            CA - Superior Court - Sacramento County           34-2017-00221569

389        Neborsky, Robert J v. Johnson & Johnson, et al.            CA - Superior Court - San Diego County       37-2018-38194-CU-PL-CTL
             Neilson, Victoria v. Johnson & Johnson, et al.          CA - Superior Court - Los Angeles County             BC666982
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391       Newberry, Barbara D v. Johnson & Johnson, et al.          CA - Superior Court - San Bernardino County         CIVDS1725849

392           Nguyen, Ngan v. Johnson & Johnson, et al.              CA - Superior Court - Los Angeles County             BC697829

393        Nicholson, Cynthia v. Johnson & Johnson, et al.           CA - Superior Court - Santa Clara County            18CV331856

394     Nickaloff, Raymond et al. v. Johnson & Johnson, et al.         CA - Superior Court - Alameda County              HG17878348

395        Nickerson, Bea Mae v. Johnson & Johnson, et al.             CA - Superior Court - Orange County               00879323CXC

396         Noorda, Gabriela v. Johnson & Johnson, et al.            CA - Superior Court - Los Angeles County             BC690361

397           Norman, Mark v. Johnson & Johnson, et al.              CA - Superior Court - Santa Clara County            17CV314869

398       Novikoff, Elena, et al. v. Johnson & Johnson, et al.       CA - Superior Court - Los Angeles County             BC628713

399         Nowinski, Barbara v. Johnson & Johnson, et al.           CA - Superior Court - Los Angeles County             BC688228

400          Nunez, Antonia v. Johnson & Johnson, et al.             CA - Superior Court - Los Angeles County             BC656226

401       Oatis, Barbara, et al. v. Johnson & Johnson, et al.        CA - Superior Court - Los Angeles County             BC631959

402           O'Dell, Robert v. Johnson & Johnson, et al.              CA - Superior Court - Sonoma County                SCV261914

403           Odom, Treina v. Johnson & Johnson, et al.                 CA - Superior Court - Fresno County             18CECG01649

404           O'Hara, Jamie v. Johnson & Johnson, et al.             CA - Superior Court - Santa Clara County            17CV318695

405            O'Neill, Rita v. Johnson & Johnson, et al.            CA - Superior Court - Los Angeles County             BC705653

406           Ordetx, Zonia v. Johnson & Johnson, et al.             CA - Superior Court - Los Angeles County             BC671566

407            Ortiz, Elisa v. Johnson & Johnson, et al.             CA - Superior Court - Santa Clara County            18CV330466

408          Osband, Ronald v. Johnson & Johnson, et al.             CA - Superior Court - Los Angeles County             BC720948

409        Overstreet, Freddie v. Johnson & Johnson, et al.            CA - Superior Court - Alameda County              RG16-843729
      Oviedo, Maria Del Roble Ibarra v. Johnson & Johnson, et al.     CA - Superior Court - Mendocino County            CVPO1871861
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411        Owen, Alicia, et al. v. Johnson & Johnson, et al.         CA - Superior Court - Los Angeles County             BC655667

412           Owen, Randy v. Johnson & Johnson, et al.               CA - Superior Court - Santa Clara County            18CV334053

413        Owens, Mary, et al. v. Johnson & Johnson, et al.         CA - Superior Court - San Bernardino County         CIVDS1618507

414            Pace, Willa v. Johnson & Johnson, et al.              CA - Superior Court - Los Angeles County             BC705960

415          Pacheco, Trudy v. Johnson & Johnson, et al.                CA - Superior Court - Tulare County               VCU271547
             Page, Theresa v. Johnson & Johnson, et al.              CA - Superior Court - Santa Clara County            17CV318657
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417         Palacios, Victoria v. Johnson & Johnson, et al.          CA - Superior Court - Santa Clara County            17CV318697

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420       Parker, Lowella v. Johnson & Johnson, et al.              CA - Superior Court - San Bernardino County                CIVD618152019

421       Parker, Rachel F v. Johnson & Johnson, et al.               CA - Superior Court - Santa Clara County                  18CV324056
          Parker, Vanessa v. Johnson & Johnson, et al.                CA - Superior Court - Los Angeles County                   BC686436
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           Patterson, Lori v. Johnson & Johnson, et al.               CA - Superior Court - Santa Clara County                  18CV327827
423
424      Patxot, Rosa Helen v. Johnson & Johnson, et al.              CA - Superior Court - Santa Clara County                  18CV325023

425          Pedi, Anna v. Johnson & Johnson, et al.                    CA - Superior Court - Ventura County                  56-2018-00508539

426        Pelle, Pamela v. Johnson & Johnson, et al.                 CA - Superior Court - Santa Clara County                  18CV326357
           Penta, Cecile v. Johnson & Johnson, et al.                   CA - Superior Court - Orange County            30-2018-00982485-CU-PL-CXC
427
428      Peregrina, Felicia v. Johnson & Johnson, et al.              CA - Superior Court - Santa Clara County                  17CV318704

429        Pereira, Rosy v. Johnson & Johnson, et al.                  CA - Superior Court - Alameda County                     RG17-886872

430        Pereira, Rosy v. Johnson & Johnson, et al.                 CA - Superior Court - Santa Clara County                  18CV323830

431        Perez, Linda M v. Johnson & Johnson, et al.                CA - Superior Court - Santa Clara County                  18CV324505

432    Petalous, Sharon May v. Johnson & Johnson, et al.                 CA - Superior Court - Kern County                     BCV-17-102563

433        Peters, Belinda v. Johnson & Johnson, et al.               CA - Superior Court - Santa Clara County                  17CV318705

434      Picone, Girolamo v. Johnson & Johnson, et al.                CA - Superior Court - Los Angeles County                   BC699887

435        Pierce, Letitia v. Johnson & Johnson, et al.               CA - Superior Court - Santa Clara County                  17CV321202

436        Pizzoni, Venus v. Johnson & Johnson, et al.                CA - Superior Court - Santa Clara County                  18CV339081

437   Pongracz-Bartha, Edward v. Johnson & Johnson, et al.            CA - Superior Court - Los Angeles County                   BC704115

438      Posey, Jannae K. v. Johnson & Johnson, et al.                CA - Superior Court - Santa Clara County                  17CV318707

439        Powell, Nancy v. Johnson & Johnson, et al.               CA - Superior Court - San Bernardino County                CIVDS1721453

440         Pryor, Aletha v. Johnson & Johnson, et al.                CA - Superior Court - Los Angeles County                   BC715175

441      Quiambao, Elona v. Johnson & Johnson, et al.                 CA - Superior Court - Los Angeles County                   BC650610

442      Quiatchon, Pablito v. Johnson & Johnson, et al.              CA - Superior Court - Santa Clara County                  17CV309681

443       Quigley, Gregory v. Johnson & Johnson, et al.               CA - Superior Court - Santa Clara County                  18CV333574

444         Ralph, Laura v. Johnson & Johnson, et al.                   CA - Superior Court - County of Marin                    CV1704352

445   Ramirez, Christina, et al. v. Johnson & Johnson, et al.         CA - Superior Court - Los Angeles County                   BC655673

446         Ramos, Lois v. Johnson & Johnson, et al.                  CA - Superior Court - Santa Clara County                  17CV321204

447      Randolph, Debra A v. Johnson & Johnson, et al.                 CA - Superior Court - Fresno County                    18CECG00758

448        Rangel, Corine v. Johnson & Johnson, et al.                CA - Superior Court - Los Angeles County                   BC688032

449       Ransom, Shelia v. Johnson & Johnson, et al.                  CA - Superior Court - San Diego County            37-2017-41733-CU-PL-CTL

450    Rautter, Loretta, et al. v. Johnson & Johnson, et al.          CA - Superior Court - Santa Clara County                  17CV321209

451        Reece, Carole v. Johnson & Johnson, et al.                 CA - Superior Court - Los Angeles County                   BC704056

452      Reed, Margaret M v. Johnson & Johnson, et al.              CA - Superior Court - San Bernardino County                CIVDS1818566

453      Reinhardt, Monika v. Johnson & Johnson, et al.               CA - Superior Court - Los Angeles County                   BC713772

454        Renner, Dolly v. Johnson & Johnson, et al.                  CA - Superior Court - Humboldt County                     DR180322

455       Reyes, Ramona v. Johnson & Johnson, et al.                     CA - Superior Court - Placer County                    5CV0040300

456    Rice-Calkins, Patricia v. Johnson & Johnson, et al. CA - Superior Court - City and County of Riverside, Palm Springs     RIC1815497

457        Richard, Lynn v. Johnson & Johnson, et al.                 CA - Superior Court - Los Angeles County                   BC681836

458      Richardson, Marie v. Johnson & Johnson, et al.               CA - Superior Court - Santa Clara County                  18CV332704

459         Rimp, Moya v. Johnson & Johnson, et al.                   CA - Superior Court - Santa Clara County                  17CV318710
        Roberson, Charlotte v. Johnson & Johnson, et al.                CA - Superior Court - Ventura County           56-2016-00486115-CU-PL-VTA
460
461    Roberts, Cheryll, et al. v. Johnson & Johnson, et al.          CA - Superior Court - Los Angeles County                   BC627457
        Roberts, Diana, et al. v. Johnson & Johnson, et al.           CA - Superior Court - Santa Clara County                  17CV306647
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463       Roberts, Tezella v. Johnson & Johnson, et al.               CA - Superior Court - Santa Clara County                  18CV332350

464      Roberts, Wendi M v. Johnson & Johnson, et al.                 CA - Superior Court - Riverside County                   RIC1802100

465       Robinson, Janet v. Johnson & Johnson, et al.                CA - Superior Court - Santa Clara County                  16CV299073

466       Robinson, Laurie v. Johnson & Johnson, et al.               CA - Superior Court - Santa Clara County                  18CV325795

467        Rocks, Pamela v. Johnson & Johnson, et al.                    CA - Superior Court - Yuba County                    CVPO-XX-XXXXXXX

468     Rodriguez, Carolina v. Johnson & Johnson, et al.              CA - Superior Court - Los Angeles County                   BC671567

469      Rodriguez, Gilbert v. Johnson & Johnson, et al.              CA - Superior Court - Santa Clara County                  18cv335260

470      Rodriguez, Virginia v. Johnson & Johnson, et al.             CA - Superior Court - Santa Clara County                  18CV335766
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471         Romero, Milan v. Johnson & Johnson, et al.             CA - Superior Court - Los Angeles County             BC699869

472           Root, Linda v. Johnson & Johnson, et al.            CA - Superior Court - San Bernardino County         CIVDS1811937

473         Roper, Brenda v. Johnson & Johnson, et al.            CA - Superior Court - San Bernardino County         CIVDS1807559

474      Rose, Susan White v. Johnson & Johnson, et al.             CA - Superior Court - Santa Cruz County             18CV00909

475      Rosefeld, Josephine v. Johnson & Johnson, et al.           CA - Superior Court - San Diego County       37-2018-22837-CU-MT-CTL
      Roseman, Lyn Killian, et al. v. Johnson & Johnson, et al.    CA - Superior Court - Santa Clara County            16-cv-295-80v
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477      Rowton, Sharon Kay v. Johnson & Johnson, et al.           CA - Superior Court - Santa Clara County            18CV335343

478          Ruffin, Mary v. Johnson & Johnson, et al.             CA - Superior Court - Santa Clara County            18CV323833

479        Russo, Jennifer v. Johnson & Johnson, et al.            CA - Superior Court - Santa Clara County            18CV334385

480     Sabella, O'Linda Olga v. Johnson & Johnson, et al.         CA - Superior Court - Santa Clara County            18CV331379
      Salamanca, Silvia Figueroa v. Johnson & Johnson, et al.      CA - Superior Court - Santa Clara County            18CV327582
481
482        Sampson, Betty v. Johnson & Johnson, et al.             CA - Superior Court - San Joaquin County       STK-CV-UMT-2018-5647

483     Sanchez, Victor, et al. v. Johnson & Johnson, et al.      CA - Superior Court - San Bernardino County         CIVDS-1719107

484     Santana, Maria Avelar v. Johnson & Johnson, et al.         CA - Superior Court - Santa Clara County            17CV321212

485      Santisteban, Thamar v. Johnson & Johnson, et al.           CA - Superior Court - San Diego County       37-2018-55710-CU-PL-CTL

486      Sasaki, Elena Castro v. Johnson & Johnson, et al.           CA - Superior Court - Ventura County       56-2018-511678-CU-MT-VTA

487       Schadel, Theresa v. Johnson & Johnson, et al.            CA - Superior Court - Santa Clara County            18CV334390

488    Schindler, Karolee, et al. v. Johnson & Johnson, et al.     CA - Superior Court - Santa Clara County            16CV296848

489      Schroers, Sandra E. v. Johnson & Johnson, et al.          CA - Superior Court - Santa Clara County            18CV323997

490         Schwab, Edwin v. Johnson & Johnson, et al.             CA - Superior Court - Sacramento County           34-2018-00229874

491         Schwarz, Lisa v. Johnson & Johnson, et al.             CA - Superior Court - Santa Clara County            18CV331857

492         Scott, Lasharn v. Johnson & Johnson, et al.            CA - Superior Court - Santa Clara County            18CV329864

493         Seaber, Karen v. Johnson & Johnson, et al.             CA - Superior Court - Santa Clara County            18CV325845

494         Sekoch, Steve v. Johnson & Johnson, et al.             CA - Superior Court - Santa Clara County            19CV341370

495         Serrano, Linda v. Johnson & Johnson, et al.            CA - Superior Court - Santa Clara County            18CV333343

496         Setzer, Candy v. Johnson & Johnson, et al.             CA - Superior Court - Santa Clara County            17CV318712

497        Seward, Denise v. Johnson & Johnson, et al.             CA - Superior Court - Contra Costa County           MSC17-02045

498          Shaw, Tora v. Johnson & Johnson, et al.               CA - Superior Court - Santa Clara County            17CV311157

499        Shebley, Yvonne v. Johnson & Johnson, et al.            CA - Superior Court - Santa Clara County            17CV318716

500      Sheehan, Constance v. Johnson & Johnson, et al.              CA - Superior Court - Napa County                18CV000849

501     Sheeley, Alvina, et al. v. Johnson & Johnson, et al.       CA - Superior Court - Los Angeles County             BC630912

502      Siddiqui, Mohammed v. Johnson & Johnson, et al.               CA - Superior Court - San Benito                 BC687844

503     Sigala, Barbara, et al. v. Johnson & Johnson, et al.       CA - Superior Court - Santa Clara County            17CV306264

504           Silva, Jose v. Johnson & Johnson, et al.             CA - Superior Court - Los Angeles County             BC690362

505      Silva, Kamala, et al. v. Johnson & Johnson, et al.        CA - Superior Court - Los Angeles County             BC635962

506          Silva, Renee v. Johnson & Johnson, et al.             CA - Superior Court - San Joaquin County      STK-CV-UPL-2017-0011581

507        Simmons, Carrie v. Johnson & Johnson, et al.               CA - Superior Court - Shasta County                 188587

508       Simmons, Lorraine v. Johnson & Johnson, et al.             CA - Superior Court - Merced County               17CV-02623

509        Simms, Madelyn v. Johnson & Johnson, et al.               CA - Superior Court - Madera County               MCV076620

510       Simpson, Charles v. Johnson & Johnson, et al.            CA - Superior Court - Santa Clara County            18CV328942

511        Sinclair, Anthony v. Johnson & Johnson, et al.          CA - Superior Court - Santa Clara County            18CV325814

512          Singer, Amy v. Johnson & Johnson, et al.              CA - Superior Court - Los Angeles County             BC696724

513         Skinner, Debra v. Johnson & Johnson, et al.            CA - Superior Court - Santa Clara County            17CV318720
            Smith, Brandy v. Johnson & Johnson, et al.               CA - Superior Court - Orange County        30-2017-00963310-CU-PL-CXC
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515       Smith, Dipresious v. Johnson & Johnson, et al.           CA - Superior Court - Santa Clara County            18CV327378

516          Smith, Gloria v. Johnson & Johnson, et al.            CA - Superior Court - Santa Clara County            17CV318661

517        Smith, Marianne v. Johnson & Johnson, et al.            CA - Superior Court - Santa Clara County            17CV318723

518         Smith, Patricia v. Johnson & Johnson, et al.           CA - Superior Court - Santa Clara County            17CV318724

519         Smith, Sharron v. Johnson & Johnson, et al.            CA - Superior Court - Los Angeles County             BC697597

520        Somers, Glenda v. Johnson & Johnson, et al.             CA - Superior Court - Los Angeles County            19STCV00090

521      Sousa, Elaine, et al. v. Johnson & Johnson, et al.        CA - Superior Court - Santa Clara County            2016-011049

522          Souza, Maria v. Johnson & Johnson, et al.               CA - Superior Court - Alameda County              RG17879234

523         Spann, Laurie v. Johnson & Johnson, et al.             CA - Superior Court - Los Angeles County             17CV04595
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524       Sparrow, Reggie v. Johnson & Johnson, et al.           CA - Superior Court - San Bernardino County         CIVDS1807034

525        Spears, Sandra v. Johnson & Johnson, et al.            CA - Superior Court - Santa Clara County            18CV331696

526       Spokny, Michael v. Johnson & Johnson, et al.              CA - Superior Court - Ventura County                 T1940

527       Stanley, Yvonne v. Johnson & Johnson, et al.            CA - Superior Court - Santa Clara County            18CV334506

528        Steele, Richard v. Johnson & Johnson, et al.           CA - Superior Court - Santa Clara County            17CV318726

529       Steens, La Rayne v. Johnson & Johnson, et al.           CA - Superior Court - Sacramento County           34-2017-00221575

530      Stockton, Tamalyn v. Johnson & Johnson, et al.             CA - Superior Court - Sonoma County                SCV261482

531         Story, Phillip v. Johnson & Johnson, et al.           CA - Superior Court - Santa Clara County            17CV318722

532       Sullivan, Wesley v. Johnson & Johnson, et al.           CA - Superior Court - Santa Clara County            18CV340055

533      Swearingen, Leslie v. Johnson & Johnson, et al.             CA - Superior Court - Tulare County               VCU276091

534      Swope, Averill Ken v. Johnson & Johnson, et al.          CA - Superior Court - Santa Clara County            18CV328936

535         Tackitt, Julia v. Johnson & Johnson, et al.           CA - Superior Court - Santa Clara County            18CV337011

536    Taylor-Robinson, Joan v. Johnson & Johnson, et al.          CA - Superior Court - Riverside County             RIC1803271

537        Temple, Cheryl v. Johnson & Johnson, et al.            CA - Superior Court - Santa Clara County            17CV318719

538      Teninty, Gary, et al. v. Johnson & Johnson, et al.       CA - Superior Court - Santa Clara County            16CV298395

539      Teninty, Gary, et al. v. Johnson & Johnson, et al.       CA - Superior Court - Santa Clara County            16CV298395

540   Terry, Deborah, et al. v. v. Johnson & Johnson, et al.      CA - Superior Court - Santa Clara County            18CV325841

541    Thomas, Bennie Faye v. Johnson & Johnson, et al.             CA - Superior Court - Alameda County              RG18918589

542        Thomas, Marie v. Johnson & Johnson, et al.             CA - Superior Court - Los Angeles County             BC678822

543      Thomas, Roderick v. Johnson & Johnson, et al.            CA - Superior Court - Santa Clara County            18CV325812

544      Thomason, Elaine v. Johnson & Johnson, et al.            CA - Superior Court - Santa Clara County            18CV330465

545       Thomson, Lynne v. Johnson & Johnson, et al.             CA - Superior Court - Santa Clara County            17CV318521

546       Thorpe, Deborah v. Johnson & Johnson, et al.                CA - Superior Court - San Benito                CU-17-00075

547       Threadgill, Soren v. Johnson & Johnson, et al.          CA - Superior Court - Los Angeles County             BC-617311

548       Tibbetts, Rosalie v. Johnson & Johnson, et al.           CA - Superior Court - Mendocino County            CVPO1870905

549        Toribio, Leilani v. Johnson & Johnson, et al.          CA - Superior Court - Santa Clara County            17CV318681

550      Torres, Betty, et al. v. Johnson & Johnson, et al.       CA - Superior Court - Los Angeles County             BC657839

551         Torres, John v. Johnson & Johnson, et al.             CA - Superior Court - Los Angeles County             BC662779

552       Torres, Josefina v. Johnson & Johnson, et al.          CA - Superior Court - San Bernardino County         CIVDS1803670

553          Toso, Pixie v. Johnson & Johnson, et al.             CA - Superior Court - Santa Clara County            18CV333690

554         Traylor, Kelly v. Johnson & Johnson, et al.           CA - Superior Court - Santa Clara County            17CV318708
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556    Tsuchiya, Laurie, et al. v. Johnson & Johnson, et al.      CA - Superior Court - Santa Clara County            18CV323689

557         Turner, Doris v. Johnson & Johnson, et al.            CA - Superior Court - Los Angeles County             BC723961

558         Tyler, Laura v. Johnson & Johnson, et al.             CA - Superior Court - Los Angeles County             BC654574

559   Tyson, Elizabeth S., et al. v. Johnson & Johnson, et al.    CA - Superior Court - Santa Clara County            17-cv-304790

560   Tyson, Elizabeth S., et al. v. Johnson & Johnson, et al.    CA - Superior Court - Santa Clara County            17-cv-304790

561        Unatin, Eileen v. Johnson & Johnson, et al.            CA - Superior Court - Los Angeles County             BC700329

562    Upshur-Davis, Monique v. Johnson & Johnson, et al.         CA - Superior Court - Santa Clara County            18CV330511

563     Urrutia, Leticia, et al v. Johnson & Johnson, et al.      CA - Superior Court - Santa Clara County            18CV328944
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            Vallido, Aliw v. Johnson & Johnson, et al.             CA - Superior Court - San Diego County       37-2018-49018-CU-PL-CTL
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        Varela, Melisa Rivera v. Johnson & Johnson, et al.        CA - Superior Court - Santa Clara County            17CV317371
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567         Vargas, Lilia v. Johnson & Johnson, et al.            CA - Superior Court - Santa Clara County            17CV321214

568          Varr, Leslie v. Johnson & Johnson, et al.            CA - Superior Court - Santa Clara County            17CV318443

569     Vasquez, Francisco v. Johnson & Johnson, et al.           CA - Superior Court - Santa Clara County            17CV309270

570      Vassell, Barrington v. Johnson & Johnson, et al.         CA - Superior Court - Santa Clara County            18CV335761

571         Vay, Barbara v. Johnson & Johnson, et al.             CA - Superior Court - Los Angeles County             BC638651

572     Velasco-Tapia, Lori v. Johnson & Johnson, et al.          CA - Superior Court - Santa Clara County            18CV325311

573          Vera, Jovita v. Johnson & Johnson, et al.            CA - Superior Court - Santa Clara County            17CV318706

574      Verducci, Darlene v. Johnson & Johnson, et al.           CA - Superior Court - Santa Clara County            17CV321217

575       Verhosek, Ashley v. Johnson & Johnson, et al.           CA - Superior Court - Santa Clara County             18cv335051

576      Vincenty, Maureen v. Johnson & Johnson, et al.           CA - Superior Court - Los Angeles County             BC711985
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577        Walker, Michelle O. v. Johnson & Johnson, et al.                  CA - Superior Court - Santa Clara County                 17CV318685

578         Walters, Michelle v. Johnson & Johnson, et al.                    CA - Superior Court - San Diego County            37-2018-65430-CU-PL-CTL

579       Warren, William, et al. v. Johnson & Johnson, et al.               CA - Superior Court - Santa Clara County                 26CV296624
      Washington-Hudspeth, Cheryl v. Johnson & Johnson, et al.               CA - Superior Court - Los Angeles County                  BC658578
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581          Waters, Joanna v. Johnson & Johnson, et al.                     CA - Superior Court - Santa Clara County                 18CV324514

582         Watkins, Kathleen v. Johnson & Johnson, et al.                   CA - Superior Court - Santa Clara County                 18CV325126

583            Weaver, Eric v. Johnson & Johnson, et al.                     CA - Superior Court - Los Angeles County                  BC671456

584           Webb, Miriam v. Johnson & Johnson, et al.                       CA - Superior Court - Riverside County                  RIC1804861

585      Webster, Sueann Arens v. Johnson & Johnson, et al.                   CA - Superior Court - Riverside County                  RIC1716030
           Wedlick-Ortiz, Ellen v. Johnson & Johnson, et al.                   CA - Superior Court - Orange County             30-2017-00952911-CU-PL-CXC
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587           Weiss, Laura v. Johnson & Johnson, et al.                      CA - Superior Court - Los Angeles County                  BC697985

588         Wellington, Ronald v. Johnson & Johnson, et al.           CA - Superior Court - City and County of San Francisco         CGC-16-555620

589        White-Rose. Susan v. Johnson & Johnson, et al.                    CA - Superior Court - Santa Cruz County                   18CV00909

590          Wiedrich, Peggy v. Johnson & Johnson, et al.         CA - Superior Court - City and County of Riverside, Palm Springs    RIC1720692

591        Williams Jr., Harold v. Johnson & Johnson, et al.               CA - Superior Court - San Bernardino County               CIVDS1807370

592          Williams, Daniel v. Johnson & Johnson, et al.                   CA - Superior Court - Santa Clara County                 18CV333605

593     Williams-Perkins, Pamela v. Johnson & Johnson, et al.                CA - Superior Court - Santa Clara County                 17CV318682
      Williams-Thompson, Stephaney v. Johnson & Johnson, et al.                 CA - Superior Court - Tulare County                    VCU276762
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595        Winters, Sylvia, et al. v. Johnson & Johnson, et al.              CA - Superior Court - Los Angeles County                  BC628272

596        Winters, Sylvia, et al. v. Johnson & Johnson, et al.              CA - Superior Court - Los Angeles County                  BC628272

597           Wise, Michelle v. Johnson & Johnson, et al.                        CA - Superior Court - Kern County                   BCV-18-100732

598          Withall, Virginia v. Johnson & Johnson, et al.                  CA - Superior Court - Santa Clara County                 18CV325303
            Wolf, David, et al. v. Johnson & Johnson, et al.                   CA - Superior Court - Orange County             30-2016-00857356-CU-PL-CXC
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600            Wolf, Orville v. Johnson & Johnson, et al.                     CA - Superior Court - Monterrey County                  17CV004012

601        Wong, Shirley, et al. v. Johnson & Johnson, et al.                CA - Superior Court - Los Angeles County                  BG647543

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603      Woodson, Jessica, et al. v. Johnson & Johnson, et al.               CA - Superior Court - Los Angeles County                  BC624387

604      Woodson, Jessica, et al. v. Johnson & Johnson, et al.               CA - Superior Court - Los Angeles County                  BC624387

605            Wyllie, Joan v. Johnson & Johnson, et al.                      CA - Superior Court - Riverside County                  RIC1716489

606        Yamaki, Mary, et al. v. Johnson & Johnson, et al.                 CA - Superior Court - Los Angeles County                  BC628127

607        Yassein, Lallafatiha v. Johnson & Johnson, et al.                  CA - Superior Court - San Diego County            37-2017-49737-CU-PL-CTL

608           York, Delores v. Johnson & Johnson, et al.                        CA - Superior Court - Tulare County                    VCU274863

609         Yoshida, Andriyani v. Johnson & Johnson, et al.                  CA - Superior Court - Los Angeles County                  BC705664
       Young, Archester Alexander v. Johnson & Johnson, et al.               CA - Superior Court - Santa Clara County                 18CV328945
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611          Youngblood, Joe v. Johnson & Johnson, et al.                    CA - Superior Court - Santa Clara County                 17CV321226

612            Zachary, Erin v. Johnson & Johnson, et al.                    CA - Superior Court - Santa Clara County                 18CV335760

613         Zambrano, Briana v. Johnson & Johnson, et al.                     CA - Superior Court - San Diego County            37-2018-22860-CU-MT-CTL

614            Zuck, Kristy v. Johnson & Johnson, et al.                     CA - Superior Court - Los Angeles County                  BC699517
